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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

M.S., individually and on behalf of A.S.; R.S., cine em
individually and on behalf of A.S., : ~ -

 

Plaintiffs, :
-against- . ORDER
NEW YORK CITY DEPARTMENT OF . 20 Civ. 1300 (GBD) (GWG)
EDUCATION, aN: ?)
Defendant.

GEORGE B. DANIELS, District Judge:

This Court having been advised that the parties have reached agreement on all issues in
this matter, the Clerk of Court is hereby ORDERED to close the above-captioned action, without
prejudice to restoring the action to this Court’s docket if an application to restore is made within
thirty (30) days.

All conferences previously scheduled are adjourned sine die.

Dated: November 4, 2020
New York, New York

SO ORDERED.

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ORGE/B. DANIELS
ITED STATES DISTRICT JUDGE

 

 
